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                 UNITED STATES COURT OF INTERNATIONAL TRADE
       ________________________________________________
                                                        :
       Amazon.com, Inc., Amazon.com Services LLC,       :
       BOP LLC, and A2Z Development Center LLC,         :
                                                        :
                                 Plaintiffs,            :
                                                        :
                                 v.                     : Court No. 21-00372
                                                        :
       UNITED STATES OF AMERICA;                        :
       OFFICE OF THE UNITED STATES TRADE               :
       REPRESENTATIVE; and U.S. CUSTOMS &               :
       BORDER PROTECTION,                               :
                                                        :
                                                        :
                                 Defendants.            :
                                                        :
       ________________________________________________:


                                          COMPLAINT

       Amazon.com, Inc., Amazon.com Services LLC, BOP LLC, and A2Z Development Center

LLC (collectively “Amazon” or “Plaintiffs”), by and through their attorneys, allege and state as

follows:

       1.       This action concerns the unlawful expansion of the scope of Section 301 of the

Trade Act of 1974 by imposing tariffs on imports from the People’s Republic of China, including

on what have commonly been referred to as “List 3” items (accounting for an approximate trade

value of $200 billion) and “List 4A” items (accounting for an approximate trade value of over

$100 billion). Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices

Related to Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 47,974 (Sept.

21, 2018) (publishing List 3); Notice of Modification of Section 301 Action: China’s Acts, Policies,

and Practices Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg.

43,304, 43,306-29 (Aug. 20, 2019) (publishing List 4A).

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       2.       In August 2017, at the President’s direction, USTR initiated an investigation into

Chinese laws, policies, practices, and actions related to intellectual property, innovation, and

technology, and their impact on trade, under Section 301(b) of the Trade Act of 1974 (“Trade Act”).

That Act then required USTR to determine what action to take, if any, in regard to such imports

within 12 months after initiation of that investigation. But USTR failed to issue the List 3 duties

(or subsequently the List 4A duties) within that window, which closed on August 13, 2018. 19

U.S.C. § 2414. Further, neither the Trade Act nor the Administrative Procedure Act (“APA”)

authorized the imposition of import duties beyond the remedial purpose provided by statute.

       3.       Section 307 of the Trade Act (in pertinent part) allows USTR to “modify or

terminate” an action taken pursuant to Section 301 of the Trade Act either when the “burden or

restriction on United States commerce” imposed by the investigated foreign country’s practice has

“increased or decreased” or when the action “is no longer appropriate.” Id. § 2417(a)(1)(B), (C).

Section 307 does not provide the authority for Defendants to impose tariffs on other imports from

China that were outside the scope of the original investigation.

       4.       In addition to being in violation of the Trade Act, the List 3 and 4A additional duties

are also unconstitutional because only Congress is authorized to levy tariffs, which it did not do

for List 3 and 4A, and the List 3 and 4A additional tariffs were imposed in violation of the Fifth

Amendment due process requirements.

       5.       The Court should set aside Defendants’ actions as ultra vires, unconstitutional and

otherwise contrary to law, as well as order Defendants to refund, with interest, any duties paid by

Plaintiffs pursuant to List 3 and List 4A.




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                                          JURISDICTION

       6.       The Court possesses subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1581(i)(1)(B), which confers “exclusive jurisdiction” on the Court over “any civil action

commenced against the United States, its agencies, or its officers, that arises out of any law of the

United States providing for . . . tariffs, duties, fees, or other taxes on the importation of

merchandise for reasons other than the raising of revenue.” 28 U.S.C. § 1581(i)(1)(B).

                                              PARTIES

       7.       Plaintiffs are importers of various goods subject to List 3 or List 4A tariffs.

       8.       Defendant United States of America received the disputed tariffs and is the statutory

defendant under 5 U.S.C. § 702 and 28 U.S.C. § 1581(i)(1)(B).

       9.       The Office of the United States Trade Representative (“USTR”) is an executive

agency of the United States charged with investigating a foreign country’s trade practices under

Section 301 of the Trade Act and implementing “appropriate” responses, subject to the direction

of the President. USTR conducted the Section 301 investigation at issue and made numerous

decisions regarding List 3 and List 4A.

       10.      Defendant U.S. Customs & Border Protection (“CBP”) is the agency that collects

duties on imports. CBP collected payments made by Plaintiffs to account for the tariffs imposed

by USTR under List 3 and List 4A.

                                            STANDING

       11.      Plaintiffs have standing to sue because they are “adversely affected or aggrieved by

agency action within the meaning of” the APA. 5 U.S.C. § 702; see 28 U.S.C. § 2631(i) (“Any

civil action of which the Court of International Trade has jurisdiction . . . may be commenced in

the court by any person adversely affected or aggrieved by agency action within the meaning of

Section 702 of title 5.”). Tariffs imposed by Defendants pursuant to Lists 3 and 4A adversely
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affected and aggrieved Plaintiffs because, as importers of covered items, they were required to pay

these impermissible duties.

                               TIMELINESS OF THE ACTION

       12.     A plaintiff must commence an action under 28 U.S.C. § 1581(i)(1)(B) “within two

years after the cause of action first accrues.” 28 U.S.C. § 2636(i). This action was timely

commenced “within two years after the cause of action first accrue[d].” Id.

       13.     Plaintiffs contest the actions taken by Defendants, which resulted in the imposition

of List 3 and List 4A duties. List 3 was published on September 21, 2018 as Notice of Modification

of Section 301 Action: China’s Acts, Policies, and Practices Related to Technology Transfer,

Intellectual Property, and Innovation, 83 Fed. Reg. 47,974 (Sept. 21, 2018). Under the Notice,

additional duties at a rate of 10% ad valorem became applicable to merchandise entered for

consumption or withdrawn for consumption on or after September 24, 2018. The rate of duty

increased to 25% ad valorem for merchandise entered for consumption or withdrawn for

consumption on or after January 1, 2019.

       14.     List 4A became applicable to listed merchandise entered or withdrawn for

consumption on or after September 1, 2019. Notice of Modification of Section 301 Action: China’s

Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and

Innovation, 84 Fed Red. 45,821 (Aug. 30, 2019).

       15.     Plaintiffs’ cause of action accrued at liquidation, when the final assessment of

duties was fixed. Plaintiffs have imported merchandise subject to List 3 and List 4A and paid the

Section 301 duties. Thus, this challenge properly encompasses all liquidations of entries assessing

List 3 and List 4A duties that occurred in the two years prior to the date of this Complaint and all

subsequent liquidations.



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       16.     Alternatively, Plaintiffs’ claims accrued upon its deposit of List 3 and List 4A tariffs

at the time of entry, and thus Plaintiffs have timely filed this action with respect to all such entries

filed within the previous two years of this action.

       17.     Alternatively, Plaintiffs’ cause of action with respect to List 4A entries accrued on

September 1, 2019, the date of the USTR’s action, and Plaintiffs have timely filed this complaint

with respect to all entries made after this date.

                                         RELEVANT LAW

       18.     Section 301 of the Trade Act authorizes USTR to investigate a foreign country’s

trade practices.    19 U.S.C. § 2411(b).       If the investigation reveals an “unreasonable or

discriminatory” practice, USTR may take “appropriate” action, such as imposing tariffs on imports

from the country that administered the unfair practice. Id. § 2411(b), (c)(1)(B).

       19.     Section 304 of the Trade Act (19 U.S.C. § 2414) requires USTR to determine what

action to take, if any, within 12 months after the initiation of the underlying investigation. Id.

§ 2414(a)(1)(B), (2)(B).

       20.     Section 307 of the Trade Act allows USTR to “modify or terminate” an action taken

pursuant to Section 301 of the Trade Act under certain circumstances, such as when the “burden

or restriction on United States commerce” imposed by the investigated foreign country’s practice

has “increased or decreased” or when the action “is no longer appropriate.” Id. § 2417(a)(1)(B),

(C).

                                    PROCEDURAL HISTORY

I.     USTR’s Investigation

       21.     On August 14, 2017, President Trump directed Ambassador Lighthizer to consider

initiating a targeted investigation pursuant to Section 301(b) of the Trade Act concerning China’s



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laws, policies, practices, and actions related to intellectual property, innovation, and technology.

Addressing China’s Laws, Policies, Practices, and Actions Related to Intellectual Property,

Innovation, and Technology, 82 Fed. Reg. 39,007 (Aug. 17, 2017). According to the President,

certain Chinese “laws, policies, practices, and actions” regarding intellectual property, innovation,

and technology “may inhibit United States exports, deprive United States citizens of fair

remuneration for their innovations, divert American jobs to workers in China, contribute to our

trade deficit with China, and otherwise undermine American manufacturing, services, and

innovation.” Id.

       22.     Four days later, USTR formally initiated an investigation on August 18, 2017 into

“whether acts, policies, and practices of the Government of China related to technology transfer,

intellectual property, and innovation are actionable under [Section 301(b) of] the Trade Act.”

Initiation of Section 301 Investigation; Hearing; and Request for Public Comments: China’s Acts,

Policies, and Practices Related to Technology Transfer, Intellectual Property, and Innovation, 82

Fed. Reg. 40,213 (Aug. 24, 2017).

       23.     Seven months later, USTR released a report on March 22, 2018 announcing the

results of its investigation. OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE, Findings of

the Investigation Into China’s Acts, Policies, And Practices Related to Technology Transfer,

Intellectual Property, and Innovation Under Section 301 of The Trade Act of 1974 (Mar. 22, 2018)

(“Section 301 Report”), available at https://ustr.gov/sites/default/files/Section%20301%20FINAL

.PDF. USTR found that certain “acts, policies, and practices of the Chinese government related to

technology transfer, intellectual property, and innovation are unreasonable or discriminatory and

burden or restrict U.S. commerce.” Id. at 17. USTR based its findings on (1) China’s use of

foreign ownership restrictions, foreign investment restrictions, and administrative licensing and



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approval processes to pressure technology transfers from U.S. to Chinese companies, id. at 45;

(2) China’s use of licensing processes to transfer technologies from U.S. companies to Chinese

companies on terms that favor Chinese recipients, id. at 55; (3) China’s facilitation of systematic

investment in, and acquisition of, U.S. companies and assets by Chinese entities to obtain

technologies and intellectual property for purposes of large-scale technology transfer, id. at 147;

and (4) China’s cyber intrusions into U.S. computer networks to gain access to valuable business

information, id. at 171. In its report, USTR did not quantify the burden or restriction imposed on

U.S. commerce by the investigated practices.

       24.     On the same date, USTR published a “Fact Sheet” stating that “[a]n interagency

team of subject matter experts and economists estimates that China’s policies result in harm to the

U.S. economy of at least $50 billion per year.”         OFFICE   OF THE   UNITED STATES TRADE

REPRESENTATIVE, Section 301 Fact Sheet (Mar. 22, 2018), available at https://ustr.gov/about-

us/policy-offices/press-office/fact-sheets/2018/march/Section-301-fact-sheet.        USTR     also

indicated that, consistent with a directive from President Trump, it would “propose additional

tariffs” of 25% ad valorem “on certain products of China, with an annual trade value commensurate

with the harm caused to the U.S. economy resulting from China’s unfair policies.” Id.; see Actions

by the United States Related to the Section 301 Investigation of China’s Laws, Policies, Practices,

or Actions Related to Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg.

13,099 (Mar. 27, 2018) (President Trump’s directive).

II.    Lists 1 & 2

       25.     Between April and August 2018, Defendants acted to remedy the estimated harm

to the U.S. economy caused by the investigated unfair practices, ultimately imposing duties on

imports from China set forth in what was called “List 1” (accounting for an approximate trade



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value of $34 billion), and then subsequently on an additional group of imports set forth in “List 2”

(accounting for an approximate trade value of $16 billion), as detailed further below.

        26.    On April 6, 2018, USTR published notice of its intent to impose “an additional duty

of 25 percent on a list of products of Chinese origin.” Notice of Determination and Request for

Public Comment Concerning Proposed Determination of Action Pursuant to Section 301: China’s

Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and

Innovation, 83 Fed. Reg. 14,906, 14,907 (Apr. 6, 2018). The products on the proposed list covered

1,333 tariff subheadings with a total value of “approximately $50 billion in terms of estimated

annual trade value for calendar year 2018.” Id. at 14,907. USTR explained that it chose $50 billion

because that amount was “commensurate with an economic analysis of the harm caused by China’s

unreasonable technology transfer policies to the U.S. economy, as covered by USTR’s Section 301

investigation.” OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE, Under Section 301 Action,

USTR Releases Proposed Tariff List on Chinese Products (Apr. 3, 2018), available at

https://ustr.gov/about-us/policy-offices/press-office/press-releases/2018/april/under-section-301-

action-ustr.

        27.    On June 20, 2018, USTR published notice of its final list of products subject to an

additional duty of 25% ad valorem, a list commonly known as “List 1.” Notice of Action and

Request for Public Comment Concerning Proposed Determination of Action Pursuant to Section

301: China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property,

and Innovation, 83 Fed. Reg. 28,710 (June 20, 2018). USTR explained that it had “narrow[ed] the

proposed list in the April 6, 2018 notice to 818 tariff subheadings, with an approximate annual

trade value of $34 billion.” Id. at 28,711.




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       28.      At the same time that it finalized List 1, USTR announced that it intended to impose

a 25% ad valorem duty on a second proposed list of Chinese products in order to “maintain the

effectiveness of [the] $50 billion trade action” grounded in its Section 301 investigation. Id. USTR

announced a proposed “List 2” covering 284 tariff subheadings with “an approximate annual trade

value of $16 billion.” Id. at 28,711-12.

       29.      On August 16, 2018, USTR published notice of the final list of products subject to

an additional duty of 25% ad valorem in List 2, comprising “279 tariff subheadings” whose “annual

trade value . . . remains $16 billion.” Notice of Action Pursuant to Section 301: China’s Acts,

Policies, and Practices Related to Technology Transfer, Intellectual Property, and Innovation, 83

Fed. Reg. 40,823 (Aug. 16, 2018).

III.   List 3

       30.      Beginning in March 2018, Defendants dramatically expanded the scope of the

tariffs imposed under Section 301 of the Trade Act to cover imports worth more than $500 billion.

Defendants did so for reasons unrelated to the unfair practices that USTR had investigated

beginning in 2017 under Section 301.

       31.      On June 18, 2018, President Trump directed USTR to consider whether the United

States should impose additional duties on products from China with an estimated trade value of

$200 billion, despite USTR having not yet implemented List 1 and List 2. THE WHITE HOUSE,

Statement from the President Regarding Trade with China (June 18, 2018), available at

https://trumpwhitehouse.archives.gov/briefings-statements/statement-president-regarding-trade-

china-2/.

       32.      USTR stated that it would design the proposed duties on $200 billion in goods from

China to address China’s threatened retaliatory measures, rather than any of the harms identified



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in its Section 301 investigation. OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE, USTR

Robert Lighthizer Statement on the President’s Additional China Trade Action (June 18, 2018),

available at https://ustr.gov/about-us/policy-offices/press-office/press-releases/2018/june/ustr-

robert-lighthizer-statement-0 (explaining that, although Lists 1 and 2 “were proportionate and

responsive to forced technology transfer and intellectual property theft by the Chinese” identified

in the investigation, the proposed duties for a third list of products were necessary to respond to

the retaliatory and “unjustified tariffs” that China may impose to target “U.S. workers, farmers,

ranchers, and businesses”).

       33.     Thereafter, President Trump publicly expressed, in a tweet, his frustration over

China’s purported manipulation of its currency and national monetary policy, as well as his

continued displeasure over China’s retaliatory tariffs and the trade imbalance between the two

nations.

       34.     Despite these warnings from Defendants, China retaliated by imposing 25% ad

valorem tariffs on $50 billion in U.S. goods implemented in two stages of $34 billion and $16

billion on the same dates the United States began collecting its own 25% tariffs under List 1 (July

6, 2018) and List 2 (August 23, 2018).

       35.     A little over a week after China imposed its first round of retaliatory duties, USTR

published notice of its proposal to “modify the action in this investigation by maintaining the

original $34 billion action and the proposed $16 billion action, and by taking a further,

supplemental action” in the form of “an additional 10 percent ad valorem duty on [a list of]

products [from] China with an annual trade value of approximately $200 billion.” Request for

Comments Concerning Proposed Modification of Action Pursuant to Section 301: China’s Acts,

Policies, and Practices Related to Technology Transfer, Intellectual Property, and Innovation, 83


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Fed. Reg. 33,608, 33,608 (July 17, 2018). As authority for its proposed action, USTR invoked

Section 307(a)(1)(C) of the Trade Act, pursuant to which USTR “may modify or terminate any

action, subject to the specific direction, if any, of the President with respect to such action, . . . if

. . . such action is being taken under [Section 301(b)] of this title and is no longer appropriate.” Id.

at 33,609 (citing 19 U.S.C. § 2417(a)(1)(c)). USTR initially set a deadline of August 17, 2018 for

initial comments; August 20 to 23, 2018 for a public hearing; and August 30, 2018 for rebuttal

comments. Id. at 33,608.

        36.     In its notice, USTR confirmed that it had relied on China’s decision to impose

“retaliatory duties” as the primary basis for its proposed action. Id. at 33,609 (asserting as

justification “China’s response to the $50 billion action announced in the investigation and its

refusal to change its acts, policies, and practices”). USTR explicitly tied the $200 billion of trade

value in its proposed action to the level of retaliatory duties imposed by China on U.S. imports,

noting that “action at this level is appropriate in light of the level of China’s announced retaliatory

action ($50 billion) and the level of Chinese goods imported into the United States ($505 billion

in 2017).” Id.; see also id. (Because “China’s retaliatory action covers a substantial percentage of

U.S. goods exported to China ($130 billion in 2017),” “the level of the U.S. supplemental action

must cover a substantial percentage of Chinese imports.”). Although it pointed to China’s

retaliatory measures, USTR did not identify any increased burdens or restrictions on U.S.

commerce resulting from the unfair practices related to technology transfer, intellectual property,

and innovation that USTR had investigated under Section 301, nor did USTR suggest the

additional trade value represented by List 3 and List 4A tariffs was commensurate with harm

caused to the United States subject of the Section 301 investigation. See id.




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       37.     USTR’s contemporaneous press statements corroborated the contents of its notice,

confirming that China’s retaliatory duties motivated the proposed expansion of the previously

imposed Section 301 tariffs to cover billions more dollars of imports—as opposed to any finding

of need for additional tariffs to remedy harm identified in the Section 301 investigation.

Ambassador Lighthizer stated that the proposed action came “[a]s a result of China’s retaliation

and failure to change its practice.” OFFICE     OF THE   UNITED STATES TRADE REPRESENTATIVE,

Statement by U.S. Trade Representative Robert Lighthizer on Section 301 Action (July 10, 2018),

available at https://ustr.gov/about-us/policy-offices/press-office/press-

releases/2018/july/statement-us-trade-representative.

       38.     Within days of these statements, Ambassador Lighthizer announced that, in light of

China’s retaliatory duties, USTR would propose to increase the additional duty from 10% to 25%

ad valorem. Rather than addressing the practices that USTR investigated pursuant to Section 301,

he stated that China “[r]egrettably . . . has illegally retaliated against U.S. workers, farmers,

ranchers and businesses.” OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE, Statement by

U.S. Trade Representative Robert Lighthizer on Section 301 Action (Aug. 1, 2018), available at

https://ustr.gov/about-us/policy-offices/press-office/press-releases/2018/august/statement-us-

trade-representative.

       39.     Shortly thereafter, USTR formally proposed “rais[ing] the level of the additional

duty in the proposed supplemental action from 10 percent to 25 percent.” Extension of Public

Comment Period Concerning Proposed Modification of Action Pursuant to Section 301: China’s

Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and

Innovation, 83 Fed. Reg. 38,760, 38,760 (Aug. 7, 2018). USTR set new dates for a public hearing

over six days ending on August 27, 2018. See id.; see also OFFICE OF THE UNITED STATES TRADE



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REPRESENTATIVE, Public Hearings on Proposed Section 301 Tariff List (Aug. 17, 2018) (modifying

hearing     schedule),    available   at     https://ustr.gov/about-us/policy-offices/press-office/press-

releases/2018/august/public-hearings-proposed-section-301.

       40.         At the same time, USTR adjusted the deadlines for the submission of written

comments, setting September 6, 2018 as the new deadline for both initial and rebuttal comments

from the public. Id. at 38,761. That adjustment prevented both USTR and the public from

considering initial comments at the hearing, and left insufficient time for interested parties to

review and respond to the initial comments filed by other parties. USTR also limited each hearing

participant to five minutes. Id. Approximately 350 witnesses appeared at the six-day hearing, and

the       public       submitted      over      6,000      comments.             List     3     Docket,

https://www.regulations.gov/docket?D= USTR-2018-0026.

       41.         Eleven days after receiving final comments from the public, President Trump

announced that he had directed USTR “to proceed with placing additional tariffs on roughly $200

billion of imports from China.” THE WHITE HOUSE, Statement from the President (Sep. 17,

2018), https://www.whitehouse.gov/briefings-statements/statement-from-the-president-4/. Once

again, President Trump made clear that China’s response to the $50 billion tariff action (i.e., List

1 and List 2 duties) motivated his decision, and he immediately promised to proceed with “phase

three” of the plan—an additional $267 billion tariff action—“if China takes retaliatory action

against our farmers or other industries.” Id.

       42.         USTR published notice of another list of products subject to an additional duty,

commonly known as “List 3.” 83 Fed. Reg. 47,974. USTR imposed a 10% ad valorem tariff that

was set to rise automatically to 25% on January 1, 2019. Id. at 47,975. USTR determined that the

additional duty would apply to all listed products that enter the United States from China on or



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after September 24, 2018. Id. USTR did not respond to any of the over 6,000 comments that it

received nor did it address any of the testimony provided by roughly 350 witnesses pursuant to the

hearing and comment period on this action. Id.

       43.     As legal support for its action, USTR pointed to Section 307(a)(1)(B) of the Trade

Act, which provides that USTR “may modify or terminate any action, subject to the specific

direction . . . of the President . . . taken under [Section 301] if . . . the burden or restriction on

United States commerce of the denial [of] rights, or of the acts, policies, or practices, that are the

subject of such action has increased or decreased.” Id. at 47,974. USTR stated that the burden on

U.S. commerce “continues to increase, including following the one-year investigation period,”

adding that “China’s unfair acts, policies, and practices include not just its specific technology

transfer and IP polices referenced in the notice of initiation in the investigation, but also China’s

subsequent defensive actions taken to maintain those policies.” Id. USTR also cited Section

307(a)(1)(C) of the Trade Act, arguing that China’s response to the $50 billion tariff action “has

shown that the current action no longer is appropriate” because “China openly has responded to

the current action by choosing to cause further harm to the U.S. economy, by increasing duties on

U.S. exports to China.” Id.

       44.     In the months that followed, China and the United States attempted to resolve their

differences through trade negotiations.      Based on the progress made with China in those

negotiations, the Trump Administration announced in December 2018, and again in February

2019, that it would delay the scheduled increase in the List 3 duty rate from 10 to 25%. Notice of

Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to Technology

Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 65,198 (Dec. 19, 2018); Notice of




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Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 7,966 (Mar. 5, 2019).

       45.     The trade negotiations ultimately fell apart. In May 2019, USTR announced its

intent to raise tariffs on List 3 goods to 25%, effective either May 10, 2019 or June 1, 2019,

depending on the day of export. See Notice of Modification of Section 301 Action: China's Acts,

Policies, and Practices Related to Technology Transfer, Intellectual Property, and Innovation, 84

Fed. Reg. 20,459 (May 9, 2019) (“List 3 Rate Increase Notice”); see also Implementing

Modification to Section 301 Action: China’s Acts, Policies, and Practices Related to Technology

Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 21,892 (May 15, 2019). The notice

cited China’s decision to “retreat from specific commitments made in earlier rounds [of

negotiations]” as the basis for the increase in the duty rate. List 3 Rate Increase Notice, 84 Fed.

Reg. at 20,459. USTR did not seek public comment, but simply announced that the increase would

occur. Id

       46.     Recognizing that List 3 would cause substantial harm to U.S. companies and

consumers, as well as the U.S. economy, USTR in June 2019 invited the public to seek exclusions

from List 3 duties on a product-specific basis. Procedures for Requests to Exclude Particular

Products from the September 2018 Action Pursuant to Section 301: China’s Acts, Policies, and

Practices Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg.

29,576 (June 24, 2019). USTR granted a limited number of these requests on a rolling basis

through June 19, 2020. Notice of Product Exclusion and Amendments: China’s Acts, Policies,

and Practices Related to Technology Transfer, Intellectual Property, and Innovation, 85 Fed.

Reg. 38,000 (June 24, 2020).




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        47.       The duties imposed on products covered by List 3 remain in effect as of the date of

this complaint.

IV.     List 4A

        48.       Eight days after it published notice of its decision to increase the duty rate on

imports covered by List 3, USTR announced its intent to proceed with yet another list – List 4 –

covering even more products subject to additional duties. Under USTR’s proposal, List 4 would

impose an additional duty of 25% ad valorem on products worth an estimated trade value of $300

billion. Request for Comments Concerning Proposed Modification of Action Pursuant to Section

301: China's Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property,

and Innovation, 84 Fed. Reg. 22,564 (May 17, 2019). USTR explained that its decision was

motivated by China’s “retreat[] from specific commitments made in previous [negotiating] rounds

[and] announce[ment of] further retaliatory action against U.S. commerce.” Id.

        49.       Similar to the process it followed for List 3, USTR invited the public to comment

on the proposed List 4 and participate in a hearing. Id. The timeline for participation in the hearing

and the submission of comments left little room for meaningful input: USTR required witnesses

to submit drafts of their testimony by June 13, 2019, four days before the deadline for fully

developed written comments (which was only a month after List 4 was proposed), and then it again

limited witnesses to five minutes of testimony at the hearing. Nonetheless, the public submitted

nearly 3,000 comments. List 4 Docket, https://beta.regulations.gov/document/USTR-2019-0004-

0001.

        50.       On August 1, 2019, citing China’s failure to follow through on agricultural

purchases and to reduce exports of fentanyl, President Trump publicly announced that the List 4

tariffs would become effective September 1, 2019 at a rate of 10% ad valorem. THE WHITE



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HOUSE, Remarks by President Trump Before Marine One Departure (Aug. 1, 2019), available

at https://trumpwhitehouse.archives.gov/briefings-statements/remarks-president-trump-marine-

one-departure-56/.

       51.     On August 20, 2019, USTR issued a final notice adopting List 4, but splitting the

list of impacted products into two tranches, List 4A and List 4B. Notice of Modification of Section

301 Action: China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

Property, and Innovation, 84 Fed. Reg. 43,304 (Aug. 20, 2019). List 4A imposed a 10% ad

valorem duty on goods worth roughly $112 billion, effective September 1, 2019. Id. List 4B

imposed a 10% ad valorem duty on the remaining goods (with limited exclusions “based on health,

safety, national security, and other factors”), effective December 15, 2019. Id. Once again, USTR

did not address any of the nearly 3,000 comments submitted or any of the testimony provided by

witnesses, other than to state that its determination “takes account of the public comments and the

testimony.” Id. at 43,305.

       52.     As legal support for its action, USTR again cited Section 307(a)(1)(B) and (C) of

the Trade Act, asserting that those provisions allow it to modify its prior action taken pursuant to

Section 301 of the Trade Act if (1) “[t]he burden or restriction on United States commerce”

imposed by the investigated foreign country practice “has increased or decreased,” or (2) “the

action . . . is no longer appropriate.” Id. at 43,304. But instead of finding any increased burden

on U.S. commerce imposed by the practices that were the subject of USTR’s investigation, USTR

merely pointed to “China’s subsequent defensive actions taken to maintain those unfair acts,

policies, and practices as determined in that investigation,” including retaliatory tariffs on U.S.

imports, retreating from commitments during negotiations, and devaluing its currency. Id.




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       53.     Ten days later, USTR published notice of its decision to increase the tariff rate

applicable to goods covered by List 4A and List 4B from 10% to 15%. Notice of Modification of

Section 301 Action: China’s Acts, Policies, and Practices Related to Technology Transfer,

Intellectual Property, and Innovation, 84 Fed. Reg. 45,821 (Aug. 30, 2019). USTR explained that

it increased the tariff rate because, shortly after it finalized List 4, “China responded by announcing

further tariffs on U.S. goods.” Id. USTR also once again cited China’s retreat from its negotiation

commitments and devaluation of its currency as grounds for its action. Id.

       54.     Recognizing that List 4A would cause substantial harm to U.S. companies and

consumers, as well as the U.S. economy, USTR in June 2019 invited the public to seek exclusions

from List 4A duties on a product-specific basis. Procedures for Requests to Exclude Particular

Products from the August 2019 Action Pursuant to Section 301: China’s Acts, Policies, and

Practices Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg.

57,144 (Oct. 24, 2019). USTR granted a limited number of these requests on a rolling basis

through August 5, 2020. Notice of Product Exclusions and Amendments: China’s Acts, Policies,

and Practices Related to Technology Transfer, Intellectual Property, and Innovation, 85 Fed.

Reg. 48,627 (Aug. 11, 2020).

       55.     On December 18, 2019, as a result of successfully negotiating a limited trade deal

with China, USTR published notice that it would “suspend indefinitely the imposition of additional

duties of 15 percent on products of China covered by” List 4B. Notice of Modification of Section

301 Action: China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

Property, and Innovation, 84 Fed. Reg. 69,447 (Dec. 18, 2019). USTR also stated its intent to

reduce by half (i.e., to 7.5%) the tariff rate applicable to products covered by List 4A, id., an action

that ultimately became effective on February 14, 2020, Notice of Modification of Section 301



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Action:     China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

Property, and Innovation, 85 Fed. Reg. 3,741 (Jan. 22, 2020).

          56.   The duties imposed on products covered by List 4A remain in effect as of the date

of this complaint.

          57.   USTR has never published any explanation or provided any evidence as to how the

List 3 or List 4A additional tariff duties were related to the stated purpose and subject of the 301

Investigation: China’s policies and practices regarding intellectual property and technology

transfer. President Trump’s contemporaneous statements instead characterize the List 3 and List

4A additional duties as generating revenue for the U.S. Treasury. See Charles Benson chats one-

on-one with President Trump, Jul. 12, 2019 (https://www.youtube.com/watch?v=xFfsDj9Lhds).

                                STATEMENT OF CLAIMS
                                     COUNT ONE
                         (VIOLATION OF THE TRADE ACT OF 1974)

          58.   Paragraphs 1 through 57 are incorporated by reference.

          59.   The Trade Act of 1974 does not authorize the actions taken by Defendants that

resulted in the List 3 and List 4A tariffs.

          60.   Pursuant to Section 301 of the Trade Act, USTR may impose tariffs when it

determines that “an act, policy, or practice of a foreign country is unreasonable or discriminatory

and burdens or restricts United States commerce, and action by the United States is appropriate.”

19 U.S.C. § 2411(b). USTR failed to predicate its actions giving rise to List 3 and List 4A on any

such determination.

          61.   If USTR concludes upon investigation that a foreign country maintains an unfair

trade practice, Section 304 of the Trade Act requires USTR to “determine what action to take, if

any,” within “12 months after the date on which the investigation is initiated.” 19 U.S.C.



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§ 2414(a)(1)(B), (2)(B). USTR’s actions giving rise to List 3 and List 4A occurred in September

2018 and August 2019, respectively, well over a year after USTR initiated the underlying Section

301 investigation on August 18, 2017.

       62.     Section 307 of the Trade Act authorizes USTR to “modify or terminate” an action

taken pursuant to Section 301 of the Trade Act when the burden or restriction imposed on U.S.

commerce by the investigated foreign country’s unfair acts, policies, or practices increases or

decreases. 19 U.S.C. § 2417(a)(1)(B). Section 307 of the Trade Act, however, does not permit

Defendants to increase tariffs imposed pursuant to an investigation conducted pursuant to Section

301 of the Trade Act for reasons unrelated to the acts, policies, or practices that USTR investigated.

Congress did not provide authorization to USTR to expand its focused investigatory findings.

       63.     Section 307 also authorizes USTR to “modify or terminate” an action under Section

301(b) if the initial action taken by USTR “is no longer appropriate.” 19 U.S.C. § 2417(a)(1)(C).

Section 307 of the Trade Act, however, does not provide Defendants with the authority to increase

tariff actions that are no longer “appropriate,” but rather only to delay, taper, or terminate such

actions.

       64.      The Declaratory Judgment Act authorizes any court of the United States to

“declare the rights and other legal relations of any interested party seeking such declaration,

whether or not further relief is or could be sought.” 28 U.S.C. § 2201(a). And the APA instructs

the courts to “set aside”—i.e., vacate—any agency actions that are unlawful. 5 U.S.C. § 706.

       65.     Plaintiffs are therefore entitled to entry of a declaratory judgment holding that

Defendants’ actions imposing duties on List 3 and List 4A are ultra vires and contrary to law, and

an order vacating those actions.




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                                COUNT TWO
             (VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT)

       66.     Paragraphs 1 through 65 are incorporated by reference

       67.     The APA authorizes the Court to hold unlawful and set aside agency action that is:

“(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law; (B)

contrary to constitutional right, power, privilege, or immunity; (C) in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right; (D) without observance of

procedure required by law; [or] (E) unsupported by substantial evidence.” 5 U.S.C. § 706(2).

       68.     As discussed in Claim One above, Defendants exceeded their statutory authority in

promulgating List 3 and List 4A and therefore acted unlawfully when publishing and collecting

duties on imports of products on List 3 and List 4A for the reasons set forth in Count One.

       69.     Furthermore, Defendants failed to offer any explanation for or evidence to support

their assertion of an “increased burden” from China’s intellectual property policies and practices

that were the subject of USTR’s Section 301 investigation, so as to justify the imposition of duties

on billions of dollars of additional products.

       70.     Defendants also promulgated List 3 and List 4A in an arbitrary and capricious

manner because they did not provide a sufficient opportunity for comment, failed to meaningfully

consider relevant factors when making their decisions, and failed to adequately explain the reasons

for their decisions. Defendants’ preordained decision-making resulted in the unlawful imposition

of tariffs on imports covered by List 3 and List 4A whose value exceeds $300 billion.

       71.     The Court should therefore “set aside”—i.e., vacate—Defendants’ final actions

promulgating Lists 3 and 4(a).




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                               COUNT THREE
              (VIOLATION OF ARTICLE 1 OF THE U.S. CONSTITUTION)

       72.     Paragraphs 1 through 71 are incorporated by reference.

       73.     From statements made by President Trump and other officials in the

Administration, at least one key reason for the imposition of the List 3 and List 4A additional

duties was to collect revenue for the federal general treasury.

       74.     To the extent the List 3 and List 4A additional duties were revenue collection

measures, they are beyond the scope of actions USTR or President are authorized to take by the

Trade Act of 1974 and, therefore, are unlawful.

       75.     The Constitution enumerates the separate powers of each branch to ensure that no

branch encroaches on the authority reserved to another branch.

       76.     List 3 and List 4A additional duties are unconstitutional because only Congress has

the constitutional power to “lay and collect taxes, duties, imposts and excises.” U.S. Constitution,

Article 1, Section 8, Clause 1.

                             COUNT FOUR
    (VIOLATION OF THE DUE PROCESS CLAUSE OF THE U.S. CONSTITUTION)

       77.     Paragraphs 1 through 76 are incorporated by reference.

       78.     The Due Process Clause of the Fifth Amendment to the U.S. Constitution provides

that “No person shall… be deprived of life, liberty, or property, without due process of law.”

       79.     Defendants promulgated List 3 and 4A in violation of the Due Process Clause when

they failed to provide Plaintiffs with a sufficient opportunity for comment as well as a sufficient

opportunity to present their views on those proposed additional tariffs in a hearing (and have those

views meaningfully considered by agency decisions-makers), failed to consider relevant factors

when making their decisions, and failed to adequately explain their rationale for imposing duties

on List 3 and List 4A products.
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       80.     Defendants’ predetermined decision-making resulted in the unlawful imposition of

tariffs on imports covered by Lists 3 and 4A whose value is over $300 billion.

                                     PRAYER FOR RELIEF

               Wherefore, Plaintiffs respectfully request that this Court:

               (1) hold that Defendants’ actions resulting in tariffs on products covered by List 3

       and List 4A are unauthorized by, and contrary to, the laws of the United States;

               (2) declare that Defendants arbitrarily and unlawfully promulgated List 3 and List

       4A in violation of the APA;

               (3) declare that Defendants unlawfully promulgated List 3 and List 4A in

       violation of the United States Constitution;

               (4) vacate the List 3 and List 4A rulemakings;

               (5) order Defendants to refund, with interest, any duties paid by Plaintiffs

       pursuant to List 3 and List 4A;

               (6) permanently enjoin Defendants from applying List 3 and List 4A against

       Plaintiffs and collecting any duties from Plaintiffs pursuant to List 3 and List 4A;

               (7) award Plaintiffs their costs and reasonable attorney fees; and

               (8) grant such other and further relief as may be just and proper.




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Respectfully submitted,




Dated: August 2, 2021

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                                      CERTIFICATE OF SERVICE

       Pursuant to U.S. Court of International Trade Rule 4(b) and (h), I hereby certify that on

August 3, 2021, copies of the foregoing Summons and Complaint were served on the following

parties by certified mail, return receipt requested:



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                                                           /s Frances Hadfield




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